                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


EVANGELINA AGUILERA and
ANGELINA NUNEZ, individually
and on behalf of all others similarly situated,
                    Plaintiffs,

       v.                                                  Case No. 13-C-1245

WAUKESHA MEMORIAL HOSPITAL, INC.,
et al.,
             Defendants.


                                  DECISION AND ORDER

       This is a wage-and-hour case alleging that Waukesha Memorial Hospital failed to

pay certified nursing assistants (“CNAs”) and housekeepers for time they spent working

during meal periods. Before me now are the plaintiffs’ motion to certify state-law classes

under Federal Rule of Civil Procedure 23 and the defendants’ motion to decertify a

collective action that I previously conditionally certified under the federal Fair Labor

Standards Act (“FLSA”).

                                     I. BACKGROUND

       Waukesha Memorial pays its CNAs and housekeepers on an hourly basis and

requires them to use a computerized timekeeping system. Employees “swipe in” at the

beginning of a shift and “swipe out” at the end. If a shift will last longer than six hours, the

employee is supposed to receive a thirty-minute, unpaid meal period. Under Waukesha

Memorial’s written timekeeping policy, an employee who intends to remain on hospital

premises during his or her meal period does not need to swipe out at the beginning of the

meal period and back in at the end; rather, the timekeeping system will automatically



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deduct thirty minutes from the employee’s shift. However, if the employee intends to leave

the hospital during the meal period, the employee must swipe out and back in. Under the

written policy, “[i]f a meal break is not taken or the employee stays on campus and takes

less than a 30 minute meal break,” the employee must use the “cancel lunch” function of

the timekeeping system to indicate that the employee did not take a full meal period and

therefore should not have thirty minutes deducted from his or her compensable time. ECF

No. 36-5 at WMH125. If the employee works during his or her lunch and does not use the

“cancel lunch” function, the timekeeping system will still subtract thirty minutes from the

employee’s shift.

       The plaintiffs’ claims in this suit relate to their use of communication devices during

meal periods. Plaintiff Angelina Nunez was formerly employed as a CNA at Waukesha

Memorial, and plaintiff Evangelina Aguilera is currently a housekeeper at Waukesha

Memorial. Nunez carried a wireless phone at all times during her shift, including during

meal periods. Nunez Decl. ¶ 5, ECF No. 34. Aguilera carries a pager at all times during

her shift, including during meal periods. Aguilera Decl. ¶ 9, 18, ECF No. 79. Both Nunez

and Aguilera state that Waukesha Memorial required them to monitor their communication

devices during their meal periods. They further state that they were “frequently” interrupted

by calls on their devices during their meal periods and “often” had to leave their meal

periods to perform work in response to those calls. Nunez Decl. ¶ 7, ECF No. 34; Aguilera

Decl. ¶ 7, ECF No. 33. Nunez states that her supervisor told her that she was not

supposed to cancel her lunch on the timekeeping system when her lunch was interrupted

by phone calls or when she was asked to perform work during her meal period; as a result,

she rarely, if ever, cancelled her lunch when she worked or was interrupted during her meal

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periods and thus was not paid for those meal periods. Nunez Dec. ¶ 15, ECF No. 34.

Aguilera does not state that her supervisor told her not to use the cancel-lunch function

when she was interrupted during a meal period, but she states that she “understood” that

Waukesha Memorial would not pay her if she performed work or answered calls to her

pager during a meal period. Aguilera Decl. ¶ 15, ECF No. 33.

       Nunez and Aguilera also state that they understood that they could not leave

Waukesha Memorial’s premises during their meal periods. Aguilera states that she

inferred that she cold not leave the premises from her supervisor’s instructions that (a) she

could not take her pager off of Waukesha Memorial’s premises and (b) she had to carry

her pager at all times. Aguilera Decl. ¶ 27–29, ECF No. 79. Nunez states that “Waukesha

Memorial required [her] to stay on its premises during [her] meal breaks.” Nunez Decl.

¶ 11, ECF No. 34. Nunez does not identify how this requirement was communicated to

her, such as through a supervisor or a written policy.

       The named plaintiffs claim that because they carried, monitored, and responded to

calls during their meal periods, and because they were not free to leave Waukesha

Memorial’s premises during their meal periods, they were entitled to have their meal

periods treated as compensable time under the FLSA and Wisconsin’s wage-and-hour law.

They seek back pay for the meal periods in which they were interrupted and/or could not

leave the premises, including overtime wages for the weeks in which treating meal periods

as compensable time would result in their having worked more than forty hours.

       The named plaintiffs believe that all CNAs and housekeepers at Waukesha

Memorial are required to carry and respond to communication devices during their meal

periods, and that because communication devices may not be taken off of hospital

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premises, none of them are free to leave the premises during their meal periods. Nunez

thus seeks to represent a class defined to include all CNAs who worked at Waukesha

Memorial at any time since February 13, 2012, and were not paid for meal periods during

which they carried, monitored, and/or answered a hospital-based wireless phone. Mot. to

Certify Class ¶ 1. Likewise, Aguilera seeks to represent a class defined to include all

housekeepers who worked at Waukesha Memorial at any time since November 5, 2011,

and were not paid for meal periods during which they carried, monitored, and/or answered

a hospital-based communication device. Id. There are 443 CNAs and 136 housekeepers

that worked at Waukesha Memorial at some time since the starting dates of the class

periods. Assuming that all of these CNAs and housekeepers carried, monitored, and/or

answered hospital-based communication devices during a meal period at some point

during their employment and were not paid for those meal periods, the combined classes

would encompass at least 579 members.1

       The proposed classes would, if certified, advance only state-law claims for back pay.

With respect to the federal FLSA claims, I have already conditionally certified a “collective

action.” See 29 U.S.C. § 216(b). Twenty-four housekeepers and CNAs have opted in to

the collective action, which brings the total number of FLSA plaintiffs to twenty-six.

       At the present stage of the case, the named plaintiffs have moved for class

certification under Federal Rule of Civil Procedure 23(b)(3) in connection with their state-

law claims.    The defendants—Waukesha Memorial and its parent, ProHealth Care,

Inc.—have moved to decertify the FLSA collective action. I consider these motions below.


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     Presumably, because the class periods have no ending dates, additional class
members would be added as Waukesha Memorial hires new CNAs and housekeepers.

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                    II. MOTION TO CERTIFY STATE-LAW CLASSES

       A district court may certify a class of plaintiffs if the proposed class satisfies all four

requirements of Federal Rule of Civil Procedure 23(a)—numerosity, commonality,

typicality, and adequacy of representation—and any one of the conditions of Rule 23(b).

Oshana v. Coca-Cola Co., 472 F.3d 506, 513 (7th Cir. 2006). The plaintiff must also show

that the class is ascertainable. Id. When certification is sought under Rule 23(b)(3), as it

is here, proponents of the class must also show: (1) that the questions of law or fact

common to the members of the proposed class predominate over questions affecting only

individual class members; and (2) that a class action is superior to other available methods

of resolving the controversy. Messner v. Northshore Univ. Health System, 669 F.3d 802,

811 (7th Cir. 2012).

       In the present case, there is no dispute that the numerosity and adequacy-of-

representation requirements have been satisfied. Whether classes may be certified turns

on whether the proposed classes satisfy the commonality and typicality requirements and

the requirements of Rule 23(b)(3). Moreover, because commonality and typicality tend to

be related, see General Telephone Co. v. Falcon, 457 U.S. 147, 157–158, n. 13 (1982),

and because in this case both requirements are disputed for substantially the same

reasons, I will not separately discuss the typicality requirement.

A.     Commonality

       Rule 23(a) requires a plaintiff seeking class certification to show that “there are

questions of law or fact common to the class.” The Supreme Court has interpreted this

requirement to mean that the claims of the proposed class must depend on a common



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contention that is “of such a nature that it is capable of classwide resolution—which means

that the determination of its truth or falsity will resolve an issue that is central to the validity

of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, __ U.S. __, 131

S. Ct. 2541, 2551 (2011). “What matters to class certification . . . is not the raising of

common ‘questions'—even in droves—but, rather the capacity of a classwide proceeding

to generate common answers apt to drive the resolution of the litigation. Dissimilarities

within the proposed class are what have the potential to impede the generation of common

answers.” Id. (internal quotation marks omitted).

       In the present case, the plaintiffs’ claims arise under Wisconsin Statute § 109.03(1),

which requires an employer to timely pay all required wages to its employees. But the

focus of the plaintiffs’ claims is on an administrative regulation promulgated by the

Wisconsin Department of Workforce Development (“DWD”) that explains when meal

periods are compensable:

       The employer shall pay all employees for on-duty meal periods, which are
       to be counted as work time. An on-duty meal period is a meal period where
       the employer does not provide at least 30 minutes free from work. Any meal
       period where the employee is not free to leave the premises of the employer
       will also be considered an on-duty meal period.

Wis. Admin. Code § DWD 274.02(3). The plaintiffs contend that Waukesha Memorial

violated this regulation by allowing or requiring CNAs and housekeepers to “carry, monitor,

and/or respond” to communication devices during their meal periods—which the plaintiffs

contend constituted “work”—without using the cancel-lunch function of the timekeeping

system. The plaintiffs also contend that because CNAs and housekeepers were required

to carry devices during their meal periods, and because such devices could not leave the

hospital’s premises, CNAs and housekeepers were not free to leave the hospital’s

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premises during their meal periods and therefore should have been considered on duty

during that time.

       The plaintiffs contend that the above claims present two common questions: (1)

whether carrying, monitoring, or answering communication devices during unpaid meal

periods constitute “work” within the meaning of the DWD regulation, and (2) whether

members of the classes were free to leave the hospital’s premises during their meal

periods.2 See Br. in Supp. at 25, ECF No. 92.

       1.      Whether use of communication devices during meal periods presents
               a common question

       The plaintiffs’ first proposed common question is whether carrying, monitoring, or

answering communication devices during unpaid meal periods constitutes "work" within the

meaning of the DWD regulation. However, this question cannot be answered for the entire

class in one stroke. The problem is that the phrase “carrying, monitoring, or answering

communication devices” describes a wide spectrum of activities, some of which might be


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        In their briefs, the plaintiffs seem to allude to a third common question. They point
to instances in which a housekeeper logged out of the hospital’s “EPIC” computer system
(which is used to assign tasks to housekeepers) for a meal period and then logged back
in before thirty minutes had expired. In these instances, Waukesha Memorial still
automatically deducted a full thirty minutes from the housekeeper’s compensable time.
The plaintiffs seem to suggest that whether the automatic deductions were proper in these
instances presents a common question of law or fact. See Pls. Br. at 22, ECF No. 92.
However, I can find evidence of only four instances in which housekeepers were logged
out of EPIC for meal periods lasting less than thirty minutes. See Caballero Dep. at
113–14, ECF No. 87-3. Moreover, the housekeeper class is defined in terms of
communication-device usage, not in terms of the duration of a meal period as reflected in
the EPIC system. Thus, whether housekeepers who logged out of EPIC for less than thirty
minutes should have been compensated for their meal periods is not a question of law that
is common to the housekeeper class as defined in this case. If there were evidence that
a large number of housekeepers had logged out for meal periods lasting less than thirty
minutes, then perhaps a suitable proposed class could be defined. But on the present
record, it appears that such a proposed class would not satisfy the numerosity requirement.

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work and some of which might not. On one end of the spectrum is an employee who

simply carries a device during a meal period but receives no calls or ignores any calls he

or she receives; at the other end is an employee who monitors her device, is constantly

interrupted by calls, and is frequently asked to leave her meal period to perform a task

such as assisting a patient or making a bed.          In between are employees whose

experiences include things like receiving a call but forwarding it to another employee who

is on duty, receiving a call and responding by doing no more than informing the caller that

the employee is on break, receiving a call and answering a work-related question, and

receiving a call and then performing a task—all of which could happen with varying

frequency.

       Waukesha Memorial did not adopt any hospital-wide policies that resulted in

proposed class members using their communication devices in roughly the same manner,

such that the jury could simply assess whether the policy resulted in all class members

performing work during meal periods. Rather, the evidence in this case shows that

different practices arose in the various departments of the hospital and across different

shifts. For example, some CNAs are not required to monitor their phones at all during their

meal periods or may forward their calls to someone who is on duty. Fiebelkorn Dep. at

31–33, 35, ECF No. 69-22; Flottum-Zurcher Dep. at 124, ECF No. 69-24; Brochtrup Dep.

at 43, ECF No. 69-25; Greeson Dep. at 47, 97, ECF No. 69-23; Reish Dep. at 78–79, ECF

No. 69-21. Indeed, one of the opt-in plaintiffs testified that she would ignore any calls she

received while on lunch. Zimmerman Dep. at 35–36, ECF No. 69-18.3 Some CNAs will


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       The plaintiffs point out that Zimmerman was employed by Waukesha Memorial for
only two months, and not until after this lawsuit was filed. Reply Br. at 12. However,

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answer a call but do no more than inform the caller that he or she is on break. Fiebelkorn

Dep. at 32–33, ECF No. 69-22. Other CNAs will answer a call and then contact someone

who is on duty and ask that person to address the caller’s need. Reish Dep. at 79–80,

ECF No. 69-21. In some units, steps are taken to minimize the number of calls a CNA

might receive on a meal period. For example, some CNAs will “round” with their patients

before taking a meal period so that the patient will not need to contact the CNA during the

meal period. Olstad Dep. at 89; ECF No. 69-20. Some units will schedule CNAs with

overlapping shifts to provide coverage for meal breaks, which minimizes calls to those who

are on break. Flottum-Zurcher Dep. at 104; ECF No. 69-24. Some CNAs will notify their

nurses that they are taking a meal period, which tends to prevent nurses from calling a

CNA during a meal period. Reish Dep. at 39–40, ECF No. 69-21. Other CNAs, such as

Nunez and some opt-in plaintiffs, were frequently interrupted during meal periods and often

did not even receive enough free time to finish eating a meal. E.g. Sheehan Decl. ¶ 22,

ECF No. 71.

       With respect to housekeepers, there is evidence that some have never been

contacted during a meal period. Brown Decl., ECF No. 99; Gateris Decl., ECF No. 100;

Heling Decl., ECF No. 101; Ortega Decl., ECF No.102; Smith Decl., ECF No. 103.4 The


Zimmerman falls within the class definition, and thus her experiences are relevant to
whether variation within the proposed class defeats commonality.
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        The plaintiffs contend that these declarations are questionable and note that one
of the five declarants later recanted her testimony. See Reply Br. at 11. However, this
only highlights the individualized nature of the proposed class’s claims: to determine if or
how often an individual housekeeper was interrupted, the jury will likely need to hear
testimony from that housekeeper and decide whether or not to believe it; the plaintiffs will
not be able to use common or representative proof to establish the experiences of all
housekeepers.

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evidence also shows that supervisors have different practices with respect to contacting

a housekeeper during a meal period. Some supervisors expect housekeepers to monitor

their communication devices during meal periods, e.g., Velazquez Dep. at 48, ECF No. 69-

30, while other supervisors allow housekeepers to ignore any pages they receive during

meal periods, e.g., Kraatz Dep. at 46, ECF No. 69-29. The extent and frequency of

interruptions will also vary by shift and department. For example, there will be fewer

occasions to page a housekeeper working the night shift cleaning vacant offices than to

page a housekeeper working a day shift in a patient unit. Tabatabaie Dep. at 154., ECF

No. 69-32.

       In light of the differing circumstances experienced by CNAs and housekeepers,5

there is no single answer to the question of whether the use of communication devices

during meal periods constitutes “work.”       To resolve the claims of every CNA and

housekeeper, the jury would have to perform separate inquiries into the facts applicable



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         I note that if one looks at the testimony of Waukesha Memorial’s Rule 30(b)(6)
witnesses, rather than at the evidence I have described in the text (which consists primarily
of testimony from various CNA and housekeeper supervisors), the use of communication
devices during meal periods appears to be somewhat more uniform than I have indicated.
For instance, Waukesha Memorial’s CNA 30(b)(6) witness testified that all CNAs must
answer their phones during meal periods, Smeaton Dep. at 47, ECF No. 36-16, which
conflicts with the testimony of some CNA supervisors, who stated that their CNAs may
ignore calls they receive during meal periods. Similarly, Waukesha Memorial’s
housekeeper 30(b)(6) witness testified that all housekeepers must answer pages they
receive during their meal breaks, Thornburg Dep. at 83, ECF No. 36-6, while at least one
supervisor testified that his housekeepers may ignore pages during meal periods, Kraatz
Dep. at 46, ECF No. 69-29. However, Rule 30(b)(6) testimony is not tantamount to a
judicial admission by the corporation, and thus the corporation may rely on other evidence
that contradicts such testimony. AI Credit Corp. v. Legion Ins. Co., 265 F.3d 630, 637 (7th
Cir. 2001). In the present case, when the evidence is viewed as a whole, the use of
communication devices during meal periods appears to be more varied than the Rule
30(b)(6) depositions would suggest.

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to each employee and determine (a) how that employee used his or her communication

device during meal periods, and (b) whether such use qualified as work. After performing

these separate inquiries, the jury might decide that most class members performed work

during a meal period. But if so, it would not have reached that result in one stroke. Thus,

whether the proposed class’s use of communication devices qualified as work is not a

common question of law or fact.6

       2.       Whether the plaintiffs’ “leave the premises” theory presents a common
                question

       The plaintiffs’ other proposed common question is whether CNAs and housekeepers

are free to leave Waukesha Memorial’s premises during their meal periods. Waukesha

Memorial does not have a written policy stating that CNAs and housekeepers are

prohibited from leaving hospital premises during their meal periods.7 To the contrary,

Waukesha Memorial’s timekeeping policies contemplate that employees may leave the

premises during meal periods so long as they swipe out.             See ECF No. 36-5 at


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          In their reply brief, the plaintiffs propose another common question of law or fact:
whether the availability of the “cancel lunch” function “shields Waukesha Memorial from
liability.” Reply Br. at 6. However, I do not understand Waukesha Memorial to be arguing
that the mere availability of the cancel-lunch function relieves it from liability for any
instances in which an employee worked during a meal period and did not cancel his or her
lunch. Thus, whether or not this is a common question is irrelevant. In any event, even
if it were a common question, the separate inquiries into how each class member actually
used his or her communication device during meal periods would raise individualized
issues that predominated over the common question. See Fed. R. Civ. P. 23(b)(3).
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         The plaintiffs note that Waukesha Memorial has a written policy stating that CNAs
and housekeepers are expected to “report to work at the start of their scheduled shift and
remain at work until the conclusion of the shift.” ECF No. 87-5 at WMH2901. They seem
to imply that the meaning of this policy is that employees are prohibited from leaving
hospital premises at any time during their shifts, including during meal periods. However,
there is no evidence that anyone at Waukesha Memorial interprets the policy as prohibiting
employees from leaving hospital premises during their meal periods.

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WMH124–25. However, some CNAs and housekeepers—namely, Aguilera, and some of

the opt-in plaintiffs—state that because they were required to monitor their communication

devices during meal periods, and because hospital-issued communication devices do not

work off of hospital premises, they were, as a practical matter, required to stay on hospital

premises during meal periods.8 In other words, these CNAs and housekeepers claim that

the requirement to monitor communication devices during meal periods was also an implicit

requirement to remain on hospital premises during meal periods. Based on this evidence,

the plaintiffs argue that whether CNAs and housekeepers were free to leave hospital

premises during their meal periods is a common question of law or fact.

       Again, however, the evidence does not show that all CNAs and housekeepers were

subject to the same policies and practices concerning the use of communication devices

during meal periods. With respect to housekeepers, one supervisor testified that her

employees had the option of leaving their communication devices at the hospital if they

wanted to leave for lunch.     Tabatabaie Dep. at 94–100, ECF No. 69-31.            Another

supervisor testified that housekeepers may take their pagers off of hospital premises

during their meal periods. Velazquez Dep. at 51–52, ECF No. 51–52. A third supervisor,

Adriana Caballero, testified that she has told housekeepers that they may leave hospital

premises during their meal periods and described specific instances in which

housekeepers left hospital premises during their meal periods. Caballero Dep. at 87–91.

In one instance, a housekeeper swiped out to make a trip to the bank. Id. at 88-889 Other



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        Named plaintiff Nunez also claims that she was required to remain on hospital
premises during meal periods, but she does not explain how she came to the conclusion
that she could not leave.

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housekeepers, including Caballero herself before she became a supervisor, left hospital

premises to pick up children. Id. at 87–88, 90–91. With respect to CNAs, some are

allowed to turn their phones off or to hand their phones to someone else while they leave

the premises during their meal periods. See Olstad Dep. at 59–60, ECF No. 69-20;

Flottum-Zurcher Dep. at 54–55; ECF No. 69-24; Cacciotti Dep. at 80–81, ECF No. 69-289;

Brochtrup Dep. at 39–40, ECF No. 69-25. And some supervisors described specific

instances in which CNAs were able to leave the premises during their meal periods. One

supervisor identified a CNA who leaves during her meal periods to take care of her dog.

Reish Dep. at 43–44, ECF No. 69-21. Another supervisor identified a CNA who left during

her lunch to go home and breast feed her child. Bohlman Dep. at 75, ECF No. 75. One

CNA testified at her deposition that she did not believe that she was prohibited from leaving

hospital premises during her meal periods. Zimmerman Dep. at 42, ECF No. 69-18.

       To be sure, the evidence suggests that CNAs and housekeepers rarely leave

hospital premises during their meal periods. But this does not prove that there is a

common policy or practice that applies to all CNAs and housekeepers that prohibits them

from leaving. There are many reasons why an individual CNA or housekeeper might want

to remain on hospital premises during a meal period. Thirty minutes may not be enough

time to make leaving the hospital worthwhile. Also, the hospital likely has break rooms and

a cafeteria, and it might be more convenient to spend the meal period at the hospital than



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         The plaintiffs note that Cacciotti’s testimony about a “break buddy” system that
enables CNAs to hand their phones to other CNAs during meal periods was not instituted
until after this lawsuit was filed. However, the proposed classes do not have definite
ending dates, and thus practices adopted after the lawsuit was filed are relevant to whether
the requirements for class certification have been satisfied.

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at an outside restaurant. To determine whether a CNA or housekeeper who remained on

hospital premises did so by choice or because he or she was required to monitor a

communication device, the jury will need to consider the individual circumstances

applicable to that CNA or housekeeper.

       Thus, the plaintiffs have not shown that there is a single answer to the question of

whether housekeepers and CNAs were free to leave the premises during their meal

periods. Some might have been required to remain on campus, and others might have

been free to leave. Individualized inquiries will be needed to identify the policies or

practices that applied to each employee, and therefore “whether CNAs and housekeepers

were free to leave the premises during their meal periods” is not a common question of law

or fact.

B.     Rule 23(b)(3) Requirements

       Because the plaintiffs have not satisfied the commonality requirement, their claims

cannot proceed on a class basis, and thus I will not separately consider whether they have

shown that the Rule 23(b)(3) requirements are satisfied.

                  III. MOTION TO DECERTIFY COLLECTIVE ACTION

       As noted, I previously conditionally certified a collective action of housekeepers and

CNAs at Waukesha Memorial. Although I certified separate classes of housekeepers and

CNAs, the class definition for each class is the same, namely:

       All persons who have worked for Waukesha Memorial at any time since May
       9, 2011 as [a CNA or a housekeeper] and who have been denied pay during
       unpaid meal periods, despite being required to monitor a phone, pager,
       and/or walkie-talkie or having had their unpaid meal period interrupted by
       work without compensation.



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Twenty-four members of the above class have opted into the suit.10 Including the two

named plaintiffs, the total number of housekeepers and CNAs pursuing relief is twenty-six.

Their claims under the FLSA are based on a regulation promulgated by the Department

of Labor that defines non-compensable meal periods. See 29 C.F.R. § 785.19. Similar

to the state-law claims, the FLSA plaintiffs allege that they were required to carry, monitor,

and/or respond to communication devices during their meal periods, and that therefore

their meal periods constituted compensable time. The defendants move to decertify the

collective action on the ground that the opt-in plaintiffs are not “similarly situated,” which

they must be in order to proceed collectively. See 29 U.S.C. § 216(b).

       Seventeen of the twenty-six plaintiffs have submitted declarations in which they

describe the extent to which they were required to use communication devices during their

meal periods.11 And from a review of these declarations, it appears that at least these

seventeen plaintiffs are similarly situated—they each state that they were required to

monitor their communication devices during meal periods and were interrupted so

frequently that they often did not have enough time to finish eating. These seventeen

plaintiffs also state that they were told that they could not remove their communication

devices from hospital premises, and that they understood this to mean that they were



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         It is not clear how many of these twenty-four opt-ins are housekeepers and how
many are CNAs. In their opening brief, the defendants stated that twenty-five of the opt-ins
were CNAs and six were housekeepers. Br. at 1. However, since the date on which the
defendants filed their brief, five opt-ins have withdrawn from the suit. The opt-out forms
do not identify whether the person opting out is a CNA or a housekeeper.
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          These plaintiffs are named plaintiffs Nunez and Aguilera and the following opt-in
plaintiffs: Price, Cramer, Savoie, Gonzalez, Sheehan, Morgan, Kaucic, Knapp, Ferris,
White, Shirley, Saucerman, Ocasio, Kish, and Marks.

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required to remain on campus during their meal periods. In contrast, one of the opt-in

plaintiffs, Amberly Zimmerman, testified at her deposition that she rarely received calls

during meal periods and ignored any of the calls she did receive. Zimmerman Dep. at

35–36, ECF No. 69-18. She also testified that she did not think she was prohibited from

leaving hospital premises during her meal periods. Id. at 42. As for the remaining eight

plaintiffs, there is no evidence in the record concerning their experiences.

       Although seventeen of the plaintiffs appear to be similarly situated, I cannot identify

any common question of law or fact that applies to all twenty-six plaintiffs. Although the

question of whether the seventeen plaintiffs who experienced frequent interruptions

received bona fide meal periods may be common to them, the question does not apply to

Zimmerman, who did not monitor her device or answer any calls during meal periods.

Because I do not know anything about the experiences of the remaining eight plaintiffs, I

do not know whether their claims will involve any questions that are common to the claims

of the other plaintiffs.

       As discussed in the context of the plaintiffs’ motion for class certification, there is no

hospital-wide policy that dictates how or how often a housekeeper or CNA must use his or

her communication device during a meal period. Such usage seems to vary based on

shift, department, and supervisor. There is thus a fundamental problem with proceeding

with a collective (or class) action in this case: there is simply no way to resolve the claims

of each class member without independently establishing the facts that apply to that

plaintiff and then determining whether his or her use of a communication device during a

meal period qualified as work. To put the problem differently, there is no way to resolve

the class’s claims on a representative basis. The jury could not hear evidence concerning

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the experiences of the named plaintiffs, decide whether or not they performed work during

their meal periods, and then extrapolate to reach conclusions about the rest of the class.

Even if the experiences of some of the other class members were similar to the

experiences of the named plaintiffs, such that the jury needed to answer the question of

whether how they used their communication devices during meal periods qualified as work

only once, at the very least the other class members would need to testify to establish that

they used their communication devices in the same way as the named plaintiffs. And

almost certainly every class member will have had at least slightly different experiences,

which means that the jury will likely need to separately determine for each class member

whether his or her use of a communication device during a meal period qualified as work.

Thus, this case cannot proceed as a collective action.

       My conclusion that this case cannot proceed as a collective action does not mean

that those plaintiffs who have had similar experiences cannot proceed collectively. Under

Federal Rule of Civil Procedure 22(a), persons may join in one action as plaintiffs if their

claims arise out of the same series of transactions or occurrences and any question of law

or fact common to all plaintiffs will arise in the action. Here, the seventeen plaintiffs who

allege that they experienced frequent interruptions during meal periods could join in one

action. Although each plaintiff would have to independently establish the facts underlying

his or her claim, all claims would involve the common question of whether, if the alleged

facts were true, the plaintiffs did not receive bona fide meal periods. Thus, while I will

decertify the collective action, I will grant the plaintiffs an opportunity to file an amended

complaint in which all housekeepers and CNAs who claim to have used their

communication devices as frequently as Aguilera and Nunez are named as plaintiffs. To

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the extent that there are opt-in plaintiffs who intend to pursue individual claims but are not

similarly situated to Nunez or Aguilera, they may file separate individual suits, and then

those suits will be assigned to me under this court’s related-case rule. See Civil L.R. 3(b)

(E.D. Wis. 2010). This approach will preserve any efficiencies that would result by

administering all claims together, even if the claims are not similar enough to the claims

of Aguilera and Nunez to warrant joinder under Rule 22(a).

                                    IV. CONCLUSION

       For the reasons stated, IT IS ORDERED that the plaintiffs’ motion for class

certification is DENIED.

       IT IS FURTHER ORDERED that the defendants’ motion to decertify the collective

action is GRANTED.

       FINALLY, IT IS ORDERED that a telephonic status conference will be held on July

17, 2015 at 11:30 a.m. for the purpose of scheduling further proceedings, including a

deadline for filing an amended complaint. The court will initiate the call. Counsel should

call the court with contact information.

       Dated at Milwaukee, Wisconsin, this 18th day of June, 2015.



                                    s/ Lynn Adelman
                                    __________________________________
                                    LYNN ADELMAN
                                    District Judge




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